












Dismissed and Memorandum Opinion filed August 26, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00775-CR

____________

&nbsp;

PAUL LEYMONE PAIGE, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 176th District Court

Harris County, Texas

Trial Court Cause No. 1248703

&nbsp;



&nbsp;

MEMORANDUM
OPINION

Appellant entered a guilty plea to delivery of a controlled
substance.&nbsp; In accordance with the terms of a plea bargain agreement with the
State, the trial court sentenced appellant on June 22, 2010, to confinement for
two years in the Institutional Division of the Texas Department of Criminal
Justice.&nbsp; Appellant filed a pro se notice of appeal.&nbsp; We dismiss the appeal. 

The trial court entered a certification of the defendant’s right
to appeal in which the court certified that this is a plea bargain case, and
the defendant has no right of appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court’s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The record supports the
trial court’s certification.&nbsp; See Dears v. State, 154 S.W.3d 610, 615
(Tex. Crim. App. 2005).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Chief Justice
Hedges and Justices Yates and Sullivan.

Do Not Publish — Tex. R. App.
P. 47.2(b).





